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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

COMMODITY FUTURES TRADING                          §
COMMISSION,                                        §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §                   1:20-CV-908-RP
                                                   §
DAVID CARTU, JONATHAN CARTU,                       §
JOSHUA CARTU, RYAN MASTEN,                         §
LEEAV PERETZ, NATI PERETZ,                         §
BAREIT MEDIA LLC d/b/a SIGNALPUSH,                 §
BLUE MOON INVESTMENTS LTD., and                    §
ORLANDO UNION INC.,                                §
                                                   §
                Defendants.                        §


                                       FINAL JUDGMENT

        Before the Court is the above entitled cause of action. On this day, the Court granted

Plaintiff Commodity Future Trading Commission’s (“CFTC”) motion for a default judgment, (Dkt.

127), as to Defendants Jonathan Cartu, Leeav Peretz, Nati Peretz, and Blue Moon Investments Ltd.

Accordingly, the Court renders final judgment pursuant to Federal Rule of Civil Procedure 58.

        IT IS ORDERED that judgment is awarded in favor of CFTC. CFTC shall recover the

following sums against Defendants, jointly and severally:

        1. Fifty-one million, one hundred fifty-five thousand, six-hundred forty-five dollars

($51,155,645) in restitution

        2. One hundred fifty-three million, four hundred sixty-six thousand, nine hundred thirty-five

dollars ($153,466,935) in civil monetary penalties (“CMP Obligation”).

      3. Permanent injunctive relief as set forth in the order granting default
judgment.

        4. Post-judgment interest at a rate calculated pursuant to 28 U.S.C. § 1961.
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All other relief requested is DENIED. This case is now CLOSED.

SIGNED on March 10, 2024.



                                  _____________________________________
                                  ROBERT PITMAN
                                  UNITED STATES DISTRICT JUDGE
